                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

                                                  )
HELEN HOLLAND, Individually, on                   )
behalf of herself and on behalf of all other      )
similarly situated current and former             )
employees,                                        )
                       Plaintiffs,                )
                                                  )
       v.                                         )       C.A. No.: 1:17-cv-00048-MOC-DLH
                                                  )
FULENWIDER ENTERPRISES, INC., a                   )
North Carolina Corporation, PHOENIX               )
TACO, L.L.C., a North Carolina Limited            )
Liability Company, MICHAEL                        )
FULENWIDER, an Individual, TOM                    )
HIRUNPUGDI, an Individual, and                    )
ERSKINE WHITE, an Individual,                     )
                                                  )
                       Defendants.
                                                  )



                     JOINT MOTION FOR SETTLEMENT APPROVAL
                          AND DISMISSAL WITH PREJUDICE



       Plaintiff Helen Holland (“Holland” or “Named Plaintiff”) and Opt-In Plaintiffs Shannon

Scott, Shirley Cruz, Demetria Carter, Tim Green, Tinika Lee, Donyetta Simms, Deborah

Weister, and Antwain Paulings (“Opt-In Plaintiffs”) (collectively, “Plaintiffs”), and Defendants

Fulenwider Enterprises, Inc., Phoenix Taco, L.L.C., Michael Fulenwider, Tom Hirunpugdi, and

Erskine White (“Defendants” and, together with Plaintiffs, the “Parties”) jointly move for

approval of the settlement agreement reached between Plaintiffs and Defendants (the “Settlement

Agreement”). The Parties further jointly move the Court to dismiss this action in its entirety

with prejudice. In furtherance of this motion, the Parties jointly state:


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        1.     Plaintiffs, who are former salaried Assistant Managers employed by Fulenwider

Enterprises or Phoenix Taco, have alleged that Defendants violated the Fair Labor Standards Act

(“FLSA”) by classifying them as exempt from overtime compensation and not paying them an

overtime premium for hours worked in excess of forty per week. Court sponsored notice of this

collective action was mailed to current and former assistant managers and 17 chose to opt in to

the collective. Several of these individuals who opted have been dismissed.1

        2.     Defendants deny Plaintiffs’ claims and assert that Plaintiffs are not owed any

overtime or other pay. Specifically, Defendants contend that Plaintiffs were properly classified

as exempt from overtime under the executive and administration exemptions of the FLSA as

determined by the Department of Labor during previous audits of Defendant’s operations. If this

case were to be further litigated, Defendants would also seek decertification of the collective

action. Defendants would also dispute in any further litigation the amount of overtime allegedly

worked, individual liability, liquidated damages, willfulness (i.e., extension of the statute of

limitations period), Plaintiffs’ method of calculating damages, and the reasonableness of

Plaintiffs’ attorneys fees and costs.

       3.      To avoid further litigation costs, Defendants and Plaintiffs have agreed to settle

the claims in this lawsuit. Defendants and Plaintiffs have agreed to the Settlement Agreement,

which will take effect following the Court’s approval and will bind only the Plaintiffs and no




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  The Consent of Christie Rushing was withdrawn by Plaintiff (Dkt. 4). The Consent of Laura
Land was also withdrawn by Plaintiff (Dkt. 61). The claims of Belinda Oliver, Claudia
Richardson, Cody Arnold and Amanda Valasquez were voluntarily dismissed after those
individuals failed to respond to discovery (Dkt. 66). The claims of Karia Cunningham, Rebecca
Townsend, and Shondrea Parker were dismissed by Stipulation (Dkt. 67 and 71).


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other current or former employees of Defendants.2 All Parties are represented by experienced

and competent counsel and the Parties engaged in significant arms-length negotiations following

substantial informal and formal discovery on the Plaintiffs’ claims and Defendants’ defenses.

Specifically, the Parties and their counsel interviewed potential witnesses, exchanged documents

and information (including payroll records, time records, personnel documents, email

correspondence, and various other documents related to the duties of Plaintiffs), and deposed and

defended depositions of the Named Plaintiff and four Opt-In Plaintiffs. In addition, counsel for

the Parties have discussed at considerable length Plaintiffs’ assertions and Defendants’ defenses,

and their respective legal theories and proof, in support of their positions. Plaintiffs have fully

evaluated every aspect of their claims and recognize the risk they face in further litigation.

Plaintiffs are also aware of the delayed risk associated with any appeal of the outcome in this

case.

         4.    This settlement was negotiated during mediation mandated by the Court. The

Parties engaged a mediator who is experienced in FLSA litigation, made detailed presentations

regarding their respective positions, and carefully considered the risks associated with further

litigation in reaching this settlement.

         5.    The Parties recognize and acknowledge the expense and length of continued

proceedings necessary to litigate decertification of a collective action, summary judgment, trial,

and potential appeals. The Parties and their counsel also have taken into account the uncertain

outcome and the risk of any further litigation, as well as the difficulties and delays inherent in


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  This case was filed as a “collective action” under the FLSA. In a collective action, individuals
must affirmatively opt in to be bound by the judgment and, when they do so, they become an
actual “party plaintiff” to the action. 29 U.S.C. § 216(b). Hence, “Rule 23 actions are
fundamentally different from collective actions under the FLSA.” Genesis HealthCare Corp. v.
Symczyk, 133 S. Ct. 1523, 1529 (2012). Here, the settlement is only for those who have opted in
to this date, and will not affect the rights of absent parties.

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such litigation. Plaintiffs and Plaintiffs’ counsel are mindful of the inherent problems of proof

and the existence of potentially adverse evidence that Defendants may use to discredit and

defend against Plaintiffs’ claims. The Parties assert it is desirable and beneficial that Plaintiffs’

claims be fully and finally settled in the manner and upon the terms and conditions set forth in

the Settlement Agreement.

       6.      The Parties agree that the terms of the Settlement Agreement are fair and

equitable considering the disputed issues and the time, expense, and burden required by

continued litigation. The Parties agree that the terms of the Settlement Agreement were

negotiated at arms-length with all Parties being fairly and fully represented by counsel of their

choosing. Each Plaintiff and Opt-In Plaintiff agreed to the terms of the Settlement Agreement

after speaking with Plaintiffs’ counsel, asking questions and reviewing calculations and analyses.

Each Plaintiff is in the process of signing the Settlement Agreement.

       7.      The Settlement Agreement is also fair and equitable because the amounts

apportioned to the different Plaintiffs take into account the length of employment and amount of

overtime hours allegedly worked by each Plaintiff and Opt-In Plaintiffs, as well as the strengths

and weaknesses of their respective claims.

       8.      Plaintiffs assert that the amount of attorneys’ fees and costs is also reasonable. As

a condition of settlement and to avoid continued litigation, Defendants take no position on this

issue and do not oppose the requested award of attorneys’ fees of $2,500 and expenses and costs

of $9,001.89. The FLSA provides that “[t]he court in such action shall, in addition to any

judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorneys’ fee to be paid by the

defendant, and costs of the action.” 29 U.S.C. § 216(b). Plaintiffs’ Counsel represents that the

amount of attorneys’ fees reflects less than the actual lodestar that Plaintiffs’ incurred in



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prosecuting this litigation, including time spent drafting pleadings, communicating with

Plaintiffs, interviewing witnesses, reviewing documents, performing discovery, defending

depositions, drafting a motion for conditional certification, and engaging in settlement

discussions.

       9.      The specific terms of the Settlement are set forth in the Settlement Agreement

which will be separately submitted to the Court. Plaintiffs’ counsel is in the process of obtaining

signatures on the Settlement Agreement for each Claimant. The Parties request permission to

submit the Settlement Agreement to the Court for in camera review and approval. If the Court is

amenable to in camera review, the Parties will submit the executed Agreement to Chambers.

       10.     The Parties jointly agree and propose to the Court that their Settlement Agreement

is a “fair and reasonable resolution of a bona fide dispute over FLSA provisions.” Lynn’s Food

Stores, 679 F.2d 1350, 1355 (11th Cir. 1982). Because the Settlement Agreement is a fair and

equitable compromise of a bona fide dispute, Defendants and Plaintiffs request that the Court

approve the Settlement Agreement and enter a final judgment dismissing the case, in its entirety,

with prejudice. An Agreed Order and Final Judgment, approved by the Parties, are being

submitted with this Motion.

                        INCORPORATED MEMORANDUM OF LAW

       The Parties are seeking this relief from the Court because the federal Fair Labor

Standards Act (“FLSA”) requires either Court approval or Department of Labor supervision to

perfect a valid release of FLSA claims. 29 U.S.C. § 216(b) and (c). See Lynn’s Foods Stores,

Inc. v. United States, 679 F.2d 1350, 1352 (11th Cir. 1982). Section 216(c) of the FLSA allows

employees to settle and waive their claims under the FLSA if the employer’s payment of unpaid

wages is supervised by the Secretary of Labor. See 29 U.S.C. § 216(c); Lynn’s Food Stores, 679



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F.2d at 1353. In the context of a private lawsuit brought by an employee against his or her

employer under Section 216(b) of the FLSA, as in the present case, an employee may settle and

release FLSA claims against an employer if the parties present the district court with a proposed

settlement and the district court enters a stipulated judgment after approving the fairness of the

settlement. Id. If a settlement in an employee FLSA suit reflects “a reasonable compromise over

issues,” such as FLSA coverage or computation of back wages that are “actually in dispute,” the

court may approve the settlement “in order to promote the policy of encouraging settlement of

litigation.” Id. at 1354.

        Although the Fourth Circuit has not directly addressed the factors relevant to settlement

approval in an FLSA collective action, courts within the Circuit have followed the analysis of

Lynn’s Food Stores, which essentially established four factors for a district court to examine to

determine whether to approve a FLSA settlement:

                1. Was the settlement achieved in an adversarial context?

                2. Was the Plaintiff represented by attorneys who can protect her rights?

                3. Does the settlement reflect a reasonable compromise over issues that are
                   actually in dispute?

                4. Is the settlement fair?

Id. at 1353-54.3 A district court, when reviewing a proposed settlement of a FLSA claim must

“scrutiniz[e] the settlement for fairness” and decide whether the proposed settlement is a “fair


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  Other circuits have identified the following factors to consider in determining whether a
settlement is fair and reasonable: (1) the risk of fraud or collusion; (2) the complexity, expense
and likely duration of the litigation; (3) the amount of discovery completed; (4) the likelihood of
success on the merits; (5) the opinion of class counsel and representatives; (6) the reaction of
absent class members; and (7) public interest in the settlement. Int’l Union, United Auto,
Aerospace and Agr. Implement Workers of Am. v. General Motors Corp., 497 F.3d 615, 631 (6th
Cir. 2007). The Court may choose to consider only those factors it considers relevant to the
settlement at hand, and often, “inquiry into one factor necessarily overlaps with inquiry into
another.” In re Cincinnati Policing, 209 F.R.D. 395, 400 (S.D. Ohio 2002). The Court is not

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and reasonable resolution of a bona fide dispute over FLSA provisions.” Id. at 1353, 1355.

Courts within the Fourth Circuit have applied this standard and approved other FLSA settlements

in recent years. See, e.g., Irvine v. Destination Wild Dunes Mgmt., 204 F. Supp. 3d 846, 849

(D.S.C. 2016) (applying Lynn’s Foods standard and approving FLSA settlement of collective

action); Davis v. Louis Broadwell, LLC, Case No. 2:10-2947-RMG, 2013 U.S. Dist. LEXIS

201494 (D.S.C. Mar. 13, 2013) (same).

       “In reviewing FLSA settlements under Lynn’s Food, courts should be mindful of the

strong presumption in favor of finding a settlement fair.” Parker v. Chuck Stevens Chevrolet of

Atmore, Inc., 2013 U.S. Dist. LEXIS 102633, 2013 WL 3818886, *2 (S.D. Ala. July 23, 2013)

(citations and internal quotation marks omitted). Such deference is warranted because “the Court

is generally not in as good a position as the parties to determine the reasonableness of an FLSA

settlement” and “[i]f the parties are represented by competent counsel in an adversary context,

the settlement they reach will, almost by definition, be reasonable.” Bonetti v. Embarq

Management Co., 715 F. Supp. 2d 1222, 1227 (M.D. Fla. 2009).

I.     Application of Approval Factors

       A.     The Settlement Was Achieved In An Adversarial Context.

       This case has been aggressively litigated throughout its history. As detailed below,

Plaintiffs are represented by experienced counsel, with specific experience litigating disputes

regarding FLSA exemptions in the restaurant industry. Defendants have vigorously disputed

liability providing evidence that assistant managers spend the majority of their time engaged in

management duties, as well as prior Department of Labor determinations supporting the


required to determine if the settlement is the fairest possible resolution of the claims of each
plaintiff, but rather whether the settlement taken as a whole is fair, adequate, and reasonable.
UAW v. General Motors Corp., 2006 U.S. Dist. LEXIS 14890, 2006 WL 89115 at *15 (E.D.
Mich. March 31, 2006), aff’d 497 F.3d 615 (6th Cir. 2007).

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applicability of the exemption. As detailed in Section 1.c below, there is a bona fide dispute

regarding the existence of any liability and the parties have forcefully presented their positions

regarding that dispute.

        B.     Plaintiffs Have Been Represented by Competent And Experienced Counsel

        As stated above, Plaintiffs’ Counsel have litigated or arbitrated similar misclassification

claims across the country, including cases within this District. In fact, Plaintiffs’ counsel have

achieved numerous victories on various critical issues, FLSA conditional certification, and the

applicability of various FLSA exemptions. Plaintiffs’ counsel have specifically litigated cases

affecting assistant managers in the restaurant industry.

        Through this experience, Plaintiffs’ counsel have become very familiar with industry

practices and the issues involved in litigating these cases. Plaintiffs’ attorneys are fully aware of

the factual contentions of their clients and are in the best position to opine as to whether this

settlement produces fair results after consideration of risks. Defendants produced payroll,

timekeeping and other documents to Plaintiffs’ counsel during the course of settlement

discussions, and Plaintiffs’ counsel analyzed and thoroughly reviewed that information in light

of their experience in dozens of nearly identical collective actions and industry standards. The

Parties negotiated vigorously, but each side believes that they have reached a final settlement

amount that adequately compensates Plaintiffs for the claims asserted. Plaintiffs may get nothing

if this case were to be dismissed at summary judgment or in the event of an adverse decision in

arbitration.

        C.     The Settlement Reflects A Reasonable Compromise Over Issues That Are Actually
               In Dispute.

        Plaintiffs are former Assistant Managers for Defendants. The Complaint alleges that

Defendants have misclassified Plaintiffs as exempt Managers and unlawfully failed to pay them


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overtime. There is no dispute that Assistant Managers are paid more than $455 per week and

were paid on a salary basis. Not only is there a bona fide dispute under the FLSA regarding

possible liability, Plaintiffs face significant obstacles to establishing any liability in this case:

               As discussed in greater detail below, many of the Plaintiffs conceded in

                depositions that they exercised significant management authority;

               The restaurants are open more than 100 hours per week and Assistant Managers

                are frequently the only managers on site and are fully responsible for managing

                the restaurants;

               Court-approved notice in this case was sent to all putative members of the

                collective; however, only 17 former assistant managers chose to opt in.

                Defendants contend that this low response rate demonstrates that assistant

                managers believe they are properly classified;

               The Department of Labor has determined during previous on-site investigations

                that the Assistant Managers are properly classified as exempt;

               The Supreme Court’s recent decision in Encino Motorcars, 138 S.Ct. 1134

                (2018), eliminates the “narrow construction” principle previously applied to

                exemptions and increases plaintiff’s burden of proof; and

               Defendants reclassified all Assistant Managers to nonexempt hourly employees in

                late 2016 in anticipation of the Department of Labor’s announced plan to increase

                the salary threshold to $913 per week. Any possibility of liability in this case

                after that date is, therefore, precluded by this decision.

        Defendants contend that the duties of Assistant Managers are clearly and overwhelmingly

managerial in nature (Rushing Dep. 46:19-47:24; Ex. 4 to Holland Dep.; Scott Dep. 17:16-18:2;


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Ex. 6 to Scott Dep.; McLean Decl. ¶¶ 6-19, 21-22.) In fact, the testimony of the Plaintiffs

established that they spend a significant period of time performing clearly management duties.

Specifically, among other duties, Assistant Managers: interview, hire, discipline, and terminate

employees (Holland Dep. 84:21-85:10, 86:22-87:2; Scott Dep. 54:17-55:21; Johnston Decl. ¶¶ 7-

10); set employees’ work schedules, send employees home, and ask them to report to work

(Hernandez-Cruz Dep. 66:1-4;       McLean Decl. ¶ 18(c)); distribute work assignments to

employees (McLean Decl. ¶ 14; Smalls Decl. ¶ 15; Moore Decl. ¶ 15-16); supervise employees

to ensure that they meet company performance standards and comply with company policies

(Rushing Dep. 52:24-53:14; Carter Dep. 27:19-28:2; Wilson Decl. ¶¶ 4-5, 7-8); monitor and

ensure compliance with food safety standards (Hernandez-Cruz Dep. 48:25-49:2; Pridgen Decl.

¶ 2); monitor inventory, sales, and other measures of a restaurant’s financial performance

(Rushing Dep. 15:15-23, 18:18-20:6, 41:24-42:9, 44:15-16, 48:14-25, 49:6-50:7; Wilson Decl.

¶ 3); conduct meetings with subordinate employees (Scott Dep. 24:1-10; Howell Decl. ¶ 16(h));

lock and unlock the restaurant each day with keys issued to them (Holland Dep. 61:1-15, 70:21-

71:20); access the restaurant’s safe (Carter Dep. 52:10-20; Smalls Decl. ¶ 18(h)); authorize the

purchase of items used in the restaurant (Smalls Decl. ¶ 17(a); Moore Decl. ¶ 18(c); Pope Decl.

¶ 16(d)); and address and resolve customer complaints (Scott Dep. 45:15-46:1; Johnston Decl.

¶ 16(c); Cousar Decl. ¶ 5).

       Plaintiffs’ claims are severely undermined by the fact that multiple Opt-In Plaintiffs and

11 current and former Assistant Managers of Defendants’ restaurants who provided sworn

Declarations testified that they primarily performed exempt job duties:

              Assistant Managers were routinely solely responsible for the management of
               the restaurant. (Holland Dep. 39:17-19; Rushing Dep. 47:25-48:7; Carter
               Dep. 30:3-22; Hernandez-Cruz Dep. 40:1-41:10; Johnston Decl. ¶¶ 5-6; Smith
               Decl. ¶¶ 6, 10; Howell Decl. ¶ 6; Smalls Decl. ¶¶ 4-5.)


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        Assistant Managers had the authority to interview, hire, discipline, and fire
         employees unilaterally.      (Holland Dep. 84:21-85:10, 86:22-87:2; Rushing
         Dep. 12:20-14:6, 14:19-15:2, 20:7-14, 25:3-5, 54:8-22, 58:9-59:9; Scott
         Dep. 54:17-55:21; Ex. 5 to Scott Dep.; Ex. B to Mingo Decl.; McLean Decl. ¶¶ 7-
         10; Smalls Decl. ¶¶ 6-9; Moore Decl. ¶¶ 10-13; Pope Decl. ¶¶ 7-10; White Decl.
         ¶¶ 5-11.)

        Assistant Managers set employees’ work schedules and could send employees
         home or direct them to report to work without any oversight or approval.
         (Holland Dep. 63:18-20; Rushing Dep. 42:19-43:13, 50:8-17, 54:23-55:1; Carter
         Dep. 35:11-16; Scott Dep. 7:15, 19:25-20:10, 51:10-52:2, 56:21-57:13;
         Hernandez-Cruz Dep. 41:19-24, 42:8-19; McLean Decl. ¶ 18(c).)

        Assistant Managers were responsible for supervising cashiers, cooks, and
         other non-exempt hourly employees. (Holland Dep. 80:16-19; Carter Dep. 53:4-
         14; Scott Dep. 41:9-15; Cousar Decl. ¶¶ 4-5, 7-9.)

        Assistant Managers always supervised at least two full-time employees
         because it took at least three hourly employees to operate the restaurant, and
         Assistant Managers sometimes supervised as many as ten on a given shift.
         (Carter Dep. 33:10-34:16; Scott Dep. 48:12-17; Johnston Decl. ¶ 12; Moore Decl.
         ¶ 18(d); McLean Decl. ¶ 12.)

        Assistant Managers responsible for keeping sales and inventory records, and
         ordering food and other supplies as needed. (Holland Dep. 69:5-25, 70:17-20;
         Rushing Dep. 15:15-23, 18:18-19:4, 48:14-22, 49:6-25; Scott Dep. 19:21-24,
         25:22-26:6; Hernandez-Cruz Dep. 47:14-21; Ex. 12 to Holland Dep.; Smith Decl.
         ¶¶ 15(a), (h).)

        Assistant Managers were provided keys, the combination to the restaurant’s
         security system, and the combination to the safe of the restaurants where
         they worked, and were responsible for unlocking the restaurant at the
         beginning of each day and/or locking it at the end of each day. (Holland
         Dep. 61:1-15, 70:21-71:20; Rushing Dep. 62:1-14; Scott Dep. 57:14-21;
         Hernandez-Cruz Dep. 43:17-22; McLean Decl. ¶ 18(k); Smalls Decl. ¶ 17(h);
         Moore Decl. ¶ 18(k).)

        Assistant Managers were responsible for correcting the timecards of hourly
         employees who forgot to clock in or out. (Holland Dep. 55:2-56:14; Rushing
         Dep. 52:24-53:14, 60:24-61:20; Carter Dep. 38:24-39:13; Scott Dep. 60:5-61:10;
         Exs. 5-7 to Holland Dep.)

        Assistant Managers also earned bonuses based on the financial performance
         of the restaurant(s) where they worked, while non-exempt hourly employees


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                were not eligible for bonuses. (Holland Dep. 47:19-48:17; Carter Dep. 31:16-
                18; Scott Dep. 35:9-36:1.)

       After her employment with Phoenix Taco ended, Holland applied for employment with

Bojangles’ Restaurants, Inc. (“Bojangles”). Holland stated in her application for employment at

Bojangles that her duties as an Assistant Manager at Phoenix Taco’s KFC locations included:

               “assign[ing] employees to specific duties;”

               “[d]irect[ing] and supervis[ing] employees;”

               enforcing Phoenix Taco’s safety, health, and security rules; and

               “[h]ir[ing], train[ing], and evaluat[ing] personnel” and maintained records. (Id.)

By signing the application on September 8, 2015, Holland attested that the information she

provided was “true, accurate and complete.”

       For the numerous reasons outlined above, a bona fide dispute exists as to Defendants’

liability under the FLSA, and Plaintiffs would face significant obstacles to establishing any

liability at trial if this case survives summary judgment.

       D.       The Settlement Is Fair and Reasonable

       As outlined above, Plaintiffs face significant obstacles to establishing any liability in this

case The outcome of a trial the merits could have been no recovery. Even if Plaintiffs could

establish liability, each still faced considerable obstacles in proving both the fact and amount of

damages, which would require analysis of extensive payroll records and documentation.

       Given the challenges faced by Plaintiffs to establish any liability, the negotiated

settlement amount is fair and reasonable. The settlement amount is also apportioned based upon

the number of weeks worked during the relevant time by each individual Plaintiff. Lesser

recoveries in FLSA claims are routinely approved by federal courts around the nation. See, e.g.,

Jimenez v. Pizzerias, LLC, 2017 U.S. Dist. LEXIS 129820, *11 (S.D. Fla. Aug. 14) (approving


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settlement of same claim equivalent to approximately two-thirds of the maximum value of actual

damages. Fuentes Cordova v. R&A Oysters, Inc., 2016 U.S. Dist. LEXIS 123042, *2-3 (S.D.

Ala. Sept. 12) (finding settlement constituting 50% recovery of wages (actual damages) as

estimated by expert report to be fair and reasonable); Vigna v. Emery Fed. Credit Union, 2016

U.S. Dist. LEXIS 166605, at *3 (S.D. Ohio Dec. 2, 2016) (“The Court agrees that nearly all of

the terms of the Settlement are fair and reasonable, particularly in light of the fact that the total

Settlement Fund constitutes a 55% recovery of wages [alone, not liquidated damages] as

estimated by the expert’s report.”).

       Consequently, this settlement provides a certain result and value now, as opposed to a

speculative result that may occur years from now. The substantial benefit that will be received by

the claimants immediately and made certain by the settlement is a significant factor weighing in

favor of the Court’s approval of the proposed settlement. See In re Domestic Air Transp.

Antitrust Litig., 148 F.R.D. 297, 326 (N.D. Ga. 1993) (“[T]he Court should consider the vagaries

of litigation and compare the significance of immediate recovery by way of the compromise to

the mere probability of relief in the future, after protracted and expensive litigation. In this

respect, ‘it has been held proper to take the bird in the hand instead of a prospective flock in the

bush.’”). Thus, the settlement is a fair and reasonable resolution of a bona fide dispute.

2.     Attorneys’ Fees and Costs

       Plaintiffs’ counsel is seeking only a portion of the fees expended in this matter. The costs

sought by Plaintiffs are reasonable and specifically supported by contemporaneous records.

       Plaintiffs’ counsel will receive the portion allocated as attorneys’ fees, costs, and

expenses as their sole compensation for the work done on this case. Thus all fee and cost

obligations will be satisfied by the parties’ settlements. Id.



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                                        CONCLUSION

       Thus, for the reasons discussed above, Plaintiffs and Defendants respectfully request that

this Court enter an Order approving the Settlement Agreements and dismissing this case with

prejudice.

       Respectfully submitted this the 4th day of April, 2019.
s/ J. Russ Bryant                                 s/ John W. Sulau
Gordon E. Jackson (admitted pro hac vice)         John W. Sulau (N.C. Bar No. 47171)
E-mail: gjackson@jsyc.com                         E-mail: john.sulau@jacksonlewis.com
J. Russ Bryant (admitted pro hac vice)            Ellison F. McCoy (admitted pro hac vice)
E-mail: rbryant@jsyc.com                          E-mail: mccoye@jacksonlewis.com
Paula Jackson (admitted pro hac vice)             D. Christopher Lauderdale (admitted pro hac vice)
E-mail: pjackson@jsyc.com                         E-mail: lauderdc@jacksonlewis.com
JACKSON SHIELDS YEISER & HOLT                     T. Chase Samples (admitted pro hac vice)
262 German Oak Dr.                                E-mail: chase.samples@jacksonlewis.com
Memphis, TN 38018                                 JACKSON LEWIS P.C.
                                                  15 South Main St., Suite 700
Christopher R. Strianese (N.C. Bar No. 46918)     Greenville, SC 29601
Tamara L. Huckert (N.C. Bar No. 35348)            Telephone: 864-232-7000
STRIANESE HUCKERT, LLP
401 North Tryon Street, 10th Floor                ATTORNEYS FOR DEFENDANTS
Charlotte, NC 28202
chris@strilaw.com
tamara@strilaw.com

ATTORNEYS FOR PLAINTIFF




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                              CERTIFICATE OF SERVICE

      I certify that on April 4, 2019, a true and correct copy of the foregoing was filed

electronically through the Court’s CM/ECF System and automatically copied to all Counsel of

Record.



                                          s/ John W. Sulau
                                          John W. Sulau (N.C. Bar No. 47171)




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